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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


In re:                                                              Bky No. 09-48229-RJK

         E151 Minnesota, Inc.,

                       Debtor.


Timothy D. Moratzka, Trustee for the Bankruptcy                     Adv. No.__________
Estate of E151 Minnesota, Inc.,
f/k/a Snyder’s Drug Stores, Inc.

                                 Plaintiff
         v.

Snyder’s Drug Stores (2009) Inc.;
Katz Funding (Minnesota), Inc.;
Katz Funding (US), Inc.

                                 Defendants


  ADVERSARY COMPLAINT TO AVOID FRAUDULENT TRANSFERS BY DEBTOR
                AND RELATED CLAIMS FOR RELIEF


         Plaintiff, Timothy D. Moratzka, Chapter 7 Trustee (“Trustee”) for the Bankruptcy Estate

(the “Estate”) of E151 Minnesota, Inc., f/k/a Snyder’s Drug Stores, Inc. (the “Debtor” or

“Snyder’s”), by his undersigned attorneys, states and alleges as follows:

                                             INTRODUCTION

         1.     Trustee seeks to unravel and avoid a series of transactions designed to manipulate

the out-of-court liquidation of Snyder’s Drug Stores. Through such devices, an insider creditor

improperly recovered over $30 million from Debtor’s assets, while millions of dollars of

unsecured claims remain unpaid entirely.         The Minnesota Uniform Fraudulent Transfer Act

(“MUFTA” or “MINN. STAT. § 513.--”) prohibits the transfer of assets to pay antecedent debt

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owed to an insider at a time when such insider has reasonable cause to believe the debtor is

insolvent. Attempts to circumvent such liability as described below violate additional fraudulent

transfer provisions under MUFTA and Section 548 of the Bankruptcy Code (the “Code” or “11

U.S.C. ---”).

       2.       Defendant Katz Funding (Minnesota), Inc. (“Katz Funding”) was an insider of the

Debtor, by virtue of their common controlling director, Daryl Katz.            Katz Funding held

substantial claims against the Debtor, and all parties knew by late 2008 that the Debtor had no

long-term financial viability. In 2008, the CIT Group/Business Credit, Inc. (“CIT”), Debtor’s

senior non-insider creditor, refused to advance more funds and the Debtor decided to liquidate its

assets to pay the CIT claim. Prior to this liquidation, the Debtor transferred a substantial amount

of assets to Defendant Snyder’s Drug Stores (2009) Inc. (“New Snyder’s”), a successor entity.

In the process, Debtor sought to put those assets out-of-reach for a substantial portion of its

unsecured creditors.

       3.       Debtor received no cash consideration for the transfer of assets to New Snyder’s.

New Snyder’s assumed and guarantied repayment of certain claims against the Debtor, but those

assumed claims were almost entirely held by Katz-related entities. New Snyder’s guarantied

Katz Funding’s claim against the Debtor, thereby preserving Katz Funding’s ability to satisfy its

insider claim against the Debtor from the transferred assets. The debt assumption does not

qualify as reasonably equivalent value under MUFTA or the Code.

       4.       With the Debtor receiving no real value in return for the transfer of its assets, it

had no alternative but to liquidate its remaining assets. That, however, was the plan all along.

The remaining assets once sold to a number of third-parties yielded proceeds which were just

sufficient to satisfy the CIT claim. Debtor sold its remaining assets to companies who operated



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pharmacies, such as Walgreen’s, Lunds, and Target. Katz then changed the Debtor’s name to

E151 Minnesota, Inc.

       5.      The Debtor’s transfer of assets to New Snyder’s lacked a bona fide business

purpose, and was not accompanied by any substantial work-out strategy. Without significant

new capital or financing to transform its drug store enterprise, New Snyder’s simply continued

on in liquidation mode. In less than a year, Katz commenced the sale of New Snyder’s assets,

and paid nearly all of the proceeds towards Katz Funding’s claim against the Debtor. New

Snyder’s was simply a vehicle for Katz Funding’s attempt to pay itself in Snyder’s overall

liquidation in violation of MUFTA and the Code. To prevent the subversion of MUFTA and the

Code, this Court must avoid the transfer, and impose liability against the Defendants.

       6.      Katz Funding has filed a secured claim against the Estate totaling approximately

$41 million, although records now show the claim to have an accrued value no more than

approximately $10 million.      Katz Funding failed to re-file a financing statement after the

Debtor’s name change, which cut off its perfected security interest in the Debtor’s assets as of

August 6, 2009. Further, most of the Estate’s assets are proceeds of real property leases and

commercial tort claims, assets which Katz Funding had no security interest against in the first

instance. Trustee exercises his strong-arm powers to confirm Katz Funding’s claim is unsecured.

       7.      Trustee further seeks to subordinate or eliminate Katz Funding’s unsecured claim

in its entirety, due to the inequitable conduct by Katz Funding described herein.

                       STATEMENT OF JURISDICTION AND VENUE

       8.      This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §

1334 and 28 U.S.C. § 157(a). All matters under 28 U.S.C. § 1334 and 28 U.S.C. § 157(a) have

been referred to this Court by operation of Local Rule 1070-1, adopted pursuant to the Order



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Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges by the District Court on July

27, 1984.

       9.      This adversary proceeding under Rule 7001 of the Federal Rules of Bankruptcy

Procedure relates to the bankruptcy case In re E151 Minnesota, Inc., Bky. No. 09-48229. The

case commenced by an involuntary petition filed on December 3, 2009. The Court entered an

Order for Relief under Chapter 7 on December 29, 2009. The case is now pending in this Court.

       10.     This is a core proceeding under 28 U.S.C. § 157(b)(2)(B), (H), (K), and (O).

       11.     Venue over this adversary proceeding is proper pursuant to 28 U.S.C. § 1409.

                                 PARTIES AND INSIDER STATUS

       12.     Plaintiff, Timothy D. Moratzka, is the duly appointed Trustee in the bankruptcy

case of the above-captioned Debtor. Trustee has standing under 11 U.S.C. §§ 544 (a), 544(b)(1),

548, 549, 510, and 105 to bring the causes of action asserted herein.

       13.     The Debtor is a Minnesota corporation.        The Debtor is formerly known as

Snyder’s Drug Stores, Inc., which had been in existence since the 1950s. Debtor changed its

corporate name on April 6, 2009 to E151 Minnesota, Inc.

       14.     Defendant New Snyder’s is a Minnesota domestic corporation with a registered

agent of CT Corporation System, Inc., located at 100 South Fifth Street, #1075, Minneapolis,

MN 55402.

       15.     Defendant Katz Funding is a Minnesota domestic corporation with a registered

agent of Neal Wahlmann and a registered address of 50 South Sixth Street, #1500, Minneapolis,

MN 55402. On or about July 12, 2010, Katz Funding filed a proof of claim against the Estate in

which it asserts a secured claim in the amount of $41,874,975.62. As noted below in Count IX,

Trustee seeks to avoid any lien Katz Funding claims against the property of the Estate.



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Additionally, in Counts X and XI, Trustee seeks to equitably subordinate the claims of Katz

Funding or re-characterize such claims as equity.

        16.     Katz Funding is a statutory insider of both the Debtor and New Snyder’s under

MUFTA and the Code. At all relevant times, Daryl Katz was the sole Director of the Debtor and

New Snyder’s, as well as the sole Directors, and Chairman, President, Secretary, and Treasurer

of Katz Funding. Daryl Katz was in control at all times of all three companies, and owned,

directly or indirectly, at least a 20 percent ownership interest in all three companies.

        17.     At all relevant times, Katz Funding was also an “insider of an affiliate” of the

Debtor, and therefore was an insider of the Debtor under MINN. STAT. § 513.41(7)(iv) and 11

U.S.C. § 101(31)(E).       On information and belief, Daryl Katz is the majority owner and

controlling party of Katz Holdings (Minnesota), Inc. (“Katz Holdings”). Katz Holdings in turn

was the 100% owner of Snyder’s Holdings, Inc. Snyder’s Holdings in turn was the 100% owner

of the Debtor. Katz was therefore an affiliate of the Debtor, as the term “affiliate” is defined

under MINN. STAT. § 513.41(1) and 11 U.S.C. § 101(2). Katz Funding, as a company of which

Daryl Katz is the Chairman, President, Secretary, and Treasurer, is an insider of Daryl Katz, and

by operation of statute is an insider of an affiliate to the Debtor.

        18.     At all relevant times, Katz Funding was also an “insider of an affiliate” of New

Snyder’s, and therefore was an insider of New Snyder’s under MINN. STAT. § 513.41(7)(iv) and

11 U.S.C. § 101(31)(E). On information and belief, Katz Holdings was the 100% owner of

Snyder’s Holdings (2009) Inc. Snyder’s Holdings (2009) in turn was the 100% owner of New

Snyder’s. Katz was therefore an affiliate of New Snyder’s, as the term “affiliate” is defined

under MINN. STAT. § 513.41(1) and 11 U.S.C. § 101(2). Katz Funding, as a company of which




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Daryl Katz is the Chairman, President, Secretary, and Treasurer, is an insider of Daryl Katz, and

by operation of statute is an insider of an affiliate to New Snyder’s.

        19.    Katz Funding is also a non-statutory insider of the Debtor and New Snyder’s, by

virtue of their mutually-controlling Director and owner, Daryl Katz.

        20.    For all the same reasons noted above, the Debtor and New Snyder’s are also

insiders.

        21.    Katz Funding (US), Inc. is named as a party because in 2010 it initially received

proceeds of the Transferred Assets (as defined below) on behalf of Katz Funding.             On

information and belief, Katz Funding (US) was a mere conduit in remitting proceeds of the

Transferred Assets to Katz Funding.        Should discovery reveal that Katz Funding (US) had

sufficient dominion and control over disbursements it simply remitted to Katz Funding, Trustee

alleges that Katz Funding (US) would be liable for return or repayment of the Transferred Assets

pursuant to 11 U.S.C. § 550(a), consistent with Counts VII and VIII set forth below against Katz

Funding and New Snyder’s.

      KATZ’S ACQUISITION OF SNYDER’S AND THE 2003-2004 BANKRUPTCY

        22.    Snyder’s Drug Stores commenced operations in the 1950s and by the late 1990s

had grown into the largest drug store retailer in the Midwest.

        23.    Daryl Katz is owner of one of the largest chains of drugstores in North America,

with total holdings in recent years of approximately 1,800 stores. His operations are primarily

based in Canada and Katz resides in Edmonton, Alberta.

        24.    In 1999, Katz Enterprises (Minnesota), Inc. (“Katz Enterprises”) purchased

Snyder’s Drug Stores, Inc. (“Snyder’s”) to expand Katz’s pharmacy holdings into the United




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States. Under Katz Enterprises, Snyder’s operated approximately 152 pharmacies throughout the

northern United States, from Montana to New York.

          25.   Snyder’s filed Chapter 11 bankruptcy in 2003. At the time, Snyder’s term lenders

were The CIT Group/Business Credit, Inc. (“CIT”) (as the first-priority lender) for

approximately $130 million, and McKesson Corporation (“McKesson”) (as the second-priority

lender) for approximately $100 million. Katz Enterprises Holdings, Inc., held an equity interest

or subordinated debt claim of approximately $40 million.

          26.   Under the bankruptcy plan confirmed in the Chapter 11 case, Katz Holdings

acquired Snyder’s and assumed the $40 million Katz-related claims as equity or subordinated

debt. Katz Holdings was to contribute up to an additional $20 million, which would be treated

going forward as subordinated debt. Katz Holdings also received a note from Snyder’s for a

subordinated debt claim of $40.5 million.    Daryl Katz remained the sole director of Snyder’s

board. The plan assumed the management contract of Katz Holdings under which Snyder’s

lenders consented to a management fee payable to Katz Holdings of no greater than $50,000 per

month.

          27.   The confirmed plan maintained Snyder’s basic debt structure, but reduced the

amounts owed both through pay down from new capital and through conversion of some debt to

equity.     Snyder’s paid down the CIT debt, and reaffirmed a lending commitment of

approximately $60 million. CIT sold a participation of roughly $25 million of its lending

commitment to Bank of America. In 2006, Katz Funding guarantied repayment of a portion of

Snyder’s obligations under the CIT credit facility. On information and belief, the amount of the

Katz Funding guaranty was $5 million.




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       28.      Snyder’s reaffirmed approximately $40 million of the McKesson debt and granted

McKesson a warrant of up to 12.5%. Katz Holdings and McKesson also entered into a separate

participation agreement dated April 21, 2004, under which Katz Holdings would purchase

portions of the McKesson loan on a schedule going forward. The parties anticipated that Katz

Holdings would purchase the entire balance of the debt by 2006. Katz Holdings did not make

the balloon payments required in 2006, but reaffirmed the participation agreement and modified

the payment schedule at that time.

 CONTINUING FINANCIAL DISTRESS OF SNYDER’S AND THE LIQUIDITY PLAN

       29.      By 2007, Snyder’s again found itself in financial duress, which led Katz Funding

to acquire Bank of America’s portion of the CIT credit facility for a position of approximately

$21 million.     In exchange for its commitment, CIT released Katz Funding from its prior

guaranty.      CIT and Katz Funding thereafter entered into an Amended and Restated Loan

Agreement with Snyder’s under which CIT committed to lend $33 million and Katz Funding

committed to lend $27 million. Through subsequent modifications, CIT required its commitment

to be reduced throughout 2008 via corresponding increases to Katz Funding’s commitment. By

the beginning of 2009, CIT’s commitment had been reduced to $20 million, while Katz

Funding’s commitment had increased to approximately $38 million.

       30.      Snyder’s continued to struggle throughout 2008, and by mid-2008 CIT indicated

it would not advance further funds. This led to the formulation of a work-out strategy, referred

to internally as the “Liquidity Plan.” One goal of such plan was to liquidate assets to satisfy the

claims of CIT’s portion of the CIT credit facility.

       31.      Snyder’s had more than sufficient assets to liquidate CIT’s portion of the CIT

credit, and continue operating (at least for the short-term) certain stores subject to the remaining



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term debt, which at that time would have been held mostly by Katz-related entities. For instance,

Katz Funding held the remainder of the CIT credit facility, and Katz Holdings held most of the

McKesson claim, as well as all of the subordinated debt arising from the prior bankruptcy plan.

       32.     Nonetheless, the Liquidity Plan first required transferring the purportedly better

performing Snyder’s stores to New Snyder’s, a new entity created to execute the Liquidity Plan.

The motivation was to remove those assets from the reach of Snyder’s unsecured creditors, and

facilitate the future payment of Katz Funding’s portion of the CIT credit facility to the detriment

of those unsecured claims in violation of MUFTA and the Code.

IMPLEMENTATION OF THE LIQUIDITY PLAN AND THE TRANSFER OF ASSETS

       33.     Pursuant to that certain Asset Purchase Agreement dated January 31, 2009, the

transfer of the purportedly well-performing stores and related transactions closed on or about

January 31, 2009 (the “Transfer”), with New Snyder’s acquiring the following 26 stores:

             Store ID Number     Store Location
             05                  720 Wildwood Road, Mahtomedi, MN 55115
             07                  US Highway 71, PO Box 280, Menahga, MN 56464
             08                  101 North Main, Park Rapids, MN 56470
             10                  2083 Ford Parkway, St. Paul, MN 55116
             12                  2705 Winnetka Avenue, New Hope, MN 55427
             15                  1121 Larpenteur Avenue, St. Paul, MN 55113
             24                  400 Main Street, Cold Spring, MN 56320
             25                  2380 Shadywood Road, Orono, MN 55391
             28                  4600 Nicollet Avenue South, Minneapolis, MN 55409
             32                  120 West Third Street, Monticello, MN 55362
             34                  7105 Cedar Lake Road, St. Louis Park, MN 55426
             39                  1865 Wayzata Boulevard, Long Lake, MN 55356
             40                  309 North Faxon Road, Norwood, MN 55368
             42                  750 Main Street, Suite 103-104, Mendota Heights, MN 55118
             44                  2525 County Road #10, Mounds View, MN 55112
             50                  602 South Front Street, Mankato, MN 56001
             56                  3235 Chaska Boulevard, Chaska, MN 55318
             59                  1425 State Highway 101 North, Plymouth, MN 55447
             60                  5101 Gateway Street Southeast, Prior Lake, MN 55372
             62                  641 Market Place Drive, Waconia, MN 55387
             73                  800 White Bear Avenue, St. Paul, MN 55106

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             75                    14617 59th Street North, Stillwater, MN 55082
             77                    2120 Silver Lake Road, New Brighton, MN 55112
             81                    1037 Highway 96, Shoreview, MN 55126
             88                    1750 Weir Drive, Woodbury, MN 55125
             90                    1260 East Fourth Avenue, Shakopee, MN 55379


including, but not limited to, a distribution center located at 2950 Lexington Avenue, Eagan,

MN, all the Debtor’s intellectual property, computers, sale and accounting systems, cash and

receivables, deposits and prepaid expenses, permits and licenses; and, with respect to each store

and the distribution center, the remaining personal property and equipment, inventories,

contracts, and real property rights (the “Transferred Assets”).

       34.        The consideration paid by New Snyder’s for the Transfer consisted of assuming

the debts of the McKesson second-position claim (which by that time, on information and belief,

had been largely assumed or paid by Katz Holdings) and the third-position Katz Holdings

subordinated claim. While New Snyder’s did in fact assume the McKesson and Katz Holdings

debt, McKesson expressly did not release its claims against the Debtor.      CIT, for itself and as

agent for Katz Funding, also did not release its claims against the Debtor under the CIT credit

facility, but New Snyder’s guaranteed payment of the CIT credit facility.

       35.        Prior to the Transfer, the Debtor and New Snyder’s Board of Directors received a

consultant’s opinion stating that the proposed debt assumption provided fair value and

consideration to the Debtor in exchange for the Transfer. The opinion was limited in several

respects. It did not cite any specific case law for its conclusions, make any findings as to

liquidation or going concern values of the Debtor, or render an appraisal of the Transferred

Assets. Nor did the opinion consider “the solvency, creditworthiness, or fair value of Seller or

Buyer or any other participant in the Transaction under any applicable laws relating to

bankruptcy, insolvency, fraudulent conveyance or similar matters.”

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       36.     The Debtor did not receive reasonably equivalent value in exchange for the

Transferred Assets. Nearly all of the claims assumed by New Snyder’s were held by insiders, or

would be paid to insiders. None of the third-party creditors of the Debtor released any claims

against the Debtor as a result of the Transfer. As a result, the consideration received by the

Debtor was worthless.

       37.     Shortly prior to the Transfer, the Debtor listed its assets to be worth

approximately $51,740,278 and estimated its liabilities at $196,069,001. Shortly following the

Transfers, the Debtor listed its assets to be worth approximately $13,949,487 and estimated its

liabilities at $75,306,238.

       38.     Shortly after the Transfer, New Snyder’s listed its assets to be worth

approximately $34,065,499 and estimated its liabilities at $119,163,970.

       39.     The Transfer was not a good faith attempt to restructure the ailing Debtor but

rather an artful attempt to avoid paying the Debtor’s unsecured claims, and to manipulate the

liquidation of assets to eventually pay the claims of Katz Funding, an insider creditor, with the

proceeds of the Transferred Assets.

    DEBTOR LIQUIDATES ITS REMAINING ASSETS AND CHANGES ITS NAME

       40.     After the Transfer, the Debtor liquidated its remaining stores, which involved

selling five stores as a going concern, and closing the remaining 23 stores. With respect to the

closed locations, the Debtor sold the remaining inventory and prescriptions to various buyers

including Lund Food Holdings, Target, Super Valu, Walgreen’s and Wal-Mart. The Debtor paid

the liquidation proceeds totaling approximately $17 million to reduce CIT’s portion of the CIT

facility. Additional funds from wind-up operations allowed the Debtor to pay the CIT debt in

full by March, 2009.



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       41.     On April 6, 2009, the Debtor changed its name to E151 Minnesota, Inc. None of

the creditors of the Debtor filed amended financing statements with the Minnesota Secretary of

State’s Office to reflect the Debtor’s name change.

               NEW SNYDER’S AS SUCCESSOR ENTITY TO SNYDER’S

       42.     New Snyder’s remained controlled by Daryl Katz, as sole board member. Other

than assuming and agreeing to pay existing debt, it does not appear that New Snyder’s entered

into any new credit facilities for the long-term operation of its business. On information and

belief, Katz Funding refused to extend or increase credit to New Snyder’s. There is no indication

that any substantial capital was invested into New Snyder’s other than the Transferred Assets.

There is no indication that New Snyder’s pursued any significant management, financial, or

strategic changes from the Debtor’s previous operations.

       43.     In virtually all respects, New Snyder’s carried on the business of the Debtor after

the Transfer. With respect to the Transferred Assets, New Snyder’s continued to operate the

same stores, at the same locations, using the same employees and overhead mechanisms.

       44.     The Transfer was a means for New Snyder’s to continue using the Debtor’s assets

(if even for a short period) without paying a number of the Debtor’s obligations.

       45.     New Snyder’s operated for approximately another year, but continued to lose

money as an entity. Store-by-store financial reports show that most stores operated by New

Snyder’s were unprofitable, or earned only marginal profits.

       LIQUIDATION OF NEW SNYDER’S AND POST-PETITION TRANSFERS

       46.     In early 2010, New Snyder’s liquidated its remaining assets, and sold its

remaining prescriptions and inventory, primarily to Walgreen’s. The proceeds generated from

these sales were paid on behalf of New Snyder’s to Katz Funding (US), Inc. On information and



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    belief, such proceeds were quickly remitted to Katz Funding, which applied the proceeds to

    reduce its portion of the CIT credit facility, pursuant to New Snyder’s guaranty of that debt.

             47.    Specifically, payments made for the benefit of New Snyder’s in exchange for the

    stores and assets sold in 2010 were remitted to Katz Funding, either through its conduit Katz

    Funding (US), Inc., or as direct debt payments from New Snyder’s, and applied on the CIT credit

    facility on the following dates and in the following amounts:

  Payor        On Behalf of       Amount           Date Funds Received              Date Received by Katz
                                                  by Katz Funding (US)1             Funding to CIT Line2
Walgreen’s New Snyder’s        $4,000,000.00     January 20, 2010               January 21, 2010

Walgreen’s New Snyder’s        $15,400,000.00 January 21, 2010                  January 26, 2010

Walgreen’s New Snyder’s        $4,183,878.63     January 26, 2010               January 31, 2010

Walgreen’s New Snyder’s        $5,262,839.90     February 27, 2010              February 25, 2010 ($2,500,000)
                                                                                February 28, 2010 ($3,579,975)
                                                                                March 31, 2010 ($1,662,840)3
Unknown       New Snyder’s     $750,000.00                                      April 30, 2010
Unknown       New Snyder’s     $11,054.00                                       May 26, 2010
Unknown       New Snyder’s     $350,000.00                                      June 30, 2010
Unknown       New Snyder’s     $200,210.00                                      September 22, 2010
Unknown       New Snyder’s     $80,000.00                                       January 31, 2011
Unknown       New Snyder’s     $35,000.00                                       April 30, 2011

             48.    Those transfers to Katz Funding made on behalf of New Snyder’s listed in the

    chart above are hereinafter referred to as the “Post-Petition Transfers.”




    1
         The dates in this column are determined from records produced by New Snyder’s.
    2
       The dates in this column are determined from records produced by Katz Funding, and, on
    information and belief, the dates reflect application of funds. Katz Funding may have received
    the funds earlier than the date identified in the chart.
    3
         For payments received by Katz Funding in February and March of 2010, there are
    discrepancies as between New Snyder’s records and Katz Funding’s records.
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        49.    On information and belief, there are no or very few creditors of New Snyder’s

other than those who would be deemed insiders, or those creditors of the Debtor who could have

a claim under Minnesota law against New Snyder’s as a successor entity of the Debtor.

 KATZ FUNDING’S EFFORTS TO EVADE MINNESOTA’S INSIDER FRAUDULENT
                      TRANSFER PROVISIONS

        50.    As noted above, when New Snyder’s liquidated its remaining assets in 2010, the

proceeds were paid to Katz Funding, an insider creditor of the Debtor, pursuant to New Snyder’s

guaranty of the CIT credit facility.

        51.    MUFTA prohibits repayment of antecedent debt to an insider when that insider

has reasonable cause to believe that the debtor is insolvent. Section 513.45(b) of MUFTA states

that:

                       [a] transfer made by a debtor is fraudulent as to a creditor whose
                       claim arose before the transfer was made if the transfer was made
                       to an insider for an antecedent debt, the debtor was insolvent at
                       that time, and the insider had reasonable cause to believe that the
                       debtor was insolvent.

        52.    Katz Funding, through insider Daryl Katz, an affiliate of the Debtor, knew and

had reasonable cause to believe that Debtor was insolvent prior to the Transfer and at the time of

the Post-Petition Transfers.

        53.    Katz sought to avoid the application of MUFTA’s insider fraudulent transfer

provisions by liquidating the Debtor through two separate transactions. The goal was to separate

the distribution of the Debtor’s assets from ultimate payee, Katz Funding, an insider creditor.

        54.    Katz Funding availed itself of no potential defenses that could have arisen through

court-supervised liquidation of the Debtor, or through compliance with the UCC. Instead, Katz

Funding, controlled by the same individual who controlled the Debtor, sought to surreptitiously

pay its insider claim to the detriment of those creditors MUFTA seeks to protect.


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 THE TRUSTEE’S AVOIDANCE POWERS ARE SUPPLMENTED IN THIS CASE BY
 (1) NEW SNYDER’S STATUS AS A MERE CONDUIT; (2) THE UNIFIED PURPOSE
 OF THE TRANSFER AND POST-PETITION TRANSFERS; AND (3) THE GROUNDS
    TO SUBSTANTIVELY CONSOLIDATE THE DEBTOR AND NEW SNYDER’S

       55.      As pleaded below, Katz Funding may be liable as an initial transferee under 11

U.S.C. § 550(a) if the Court: (a) determines that New Snyder’s is a mere conduit with respect to

the Transferred Assets; (b) finds that the Transfer and the Post-Petition Transfers can be

collapsed into a single transaction, or (c) substantively consolidates the Debtor and New

Snyder’s.

       56.      New Snyder’s was a mere conduit, as it did not have dominion or control over its

assets, including the Transferred assets. Rather, New Snyder’s was controlled by insiders and

affiliates of the Debtor (the transferor of the Transferred Assets), and Katz Funding (the ultimate

transferee of the Transferred Assets), primarily Daryl Katz.

       57.      The Transfer and the Post-Petition Transfers can be collapsed into a single

transaction, such that the Trustee can avoid the transactions included in the defined Post-Petition

Transfers as if they are part of the Transfer, based on the following factors, as well as those the

Trustee may uncover in discovery:

             a. All the parties involved had knowledge of the multiple transactions; and

             b. Each transaction was part of an overall liquidation plan.

       58.      The Court should substantively consolidate Debtor and New Snyder’s for the

limited purpose of providing the Trustee with standing to seek avoidance of any transfers

purportedly made by New Snyder’s, based on the following factors, as well as those the Trustee

may uncover in discovery:

             a. A unity of ownership between the two entities;

             b. Inter-corporate guarantees on loans;

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             c. Transfer of assets without formal observance of corporate formalities;

             d. The affairs of the entities are so entangled that consolidation will benefit

                the creditors;

             e. On information and belief, New Snyder’s does not appear to have any

                existing creditors with substantial claims, other than insider and

                subordinated creditors, such as Katz Holdings and Katz Funding;

             f. The creditors of the Debtor will suffer greater injustice if the entities are

                not consolidated than the prejudice any party will suffer if the entities are

                consolidated;

             g. Katz Funding and other creditors essentially treated the Debtor and New

                Snyder’s as a single borrowing entity; and

             h. Under Minnesota law, New Snyder’s constituted a legal successor of the

                Debtor, presumably liable for the debts of the Debtor.

                     TRUSTEE’S SPECIFIC CAUSES OF ACTION

          Count I: Avoidance of the Transfer pursuant to 11 U.S.C. § 548(a)(1)(A)

       59.      Plaintiff realleges and incorporates by reference paragraphs 1 through 58.

       60.      The Debtor made the Transfer to New Snyder’s with the actual intent to hinder,

delay, or defraud existing and future creditors, as evidenced by a confluence of a number of

badges of fraud, including:

             a. The Debtor did not receive reasonably equivalent value in exchange for

                the Transfer;

             b. There was an insider relationship between New Snyder’s and the Debtor

                as set forth in paragraphs 16 through 20 of this Complaint;



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             c. The Debtor was insolvent at the time of the Transfer, or became insolvent

                as a result of the Transfer;

             d. The Debtor’s senior secured creditor, CIT, had threatened to discontinue

                providing credit to the Debtor shortly before the Transfer;

             e. According to the Debtor, the Transfer involved substantially all of the

                Debtor’s purported valuable operating assets, and the Debtor liquidated its

                remaining assets shortly after the Transfer; and

             f. The Transfer was an integral part of a liquidation plan advanced by the

                Debtor’s controlling affiliate and an insider claimant, which such plan

                resulted in the payment of the proceeds of the Transferred Assets to an

                insider in circumvention of the Code’s and MUFTA’s insider fraudulent

                transfer provisions.

       61.      Therefore, the Transfer must be avoided under 11 U.S.C. § 548(a)(1)(A).

 Count II: Avoidance of the Transfer pursuant to 11 U.S.C. § 544(b)(1) and MINN. STAT. §
                                      513.44(a)(1)

       62.      Plaintiff realleges and incorporates by reference paragraphs 1 through 61.

       63.      The Debtor made the Transfer to New Snyder’s with the actual intent to hinder,

delay, or defraud existing and future creditors, as evidenced by a confluence of a number of

badges of fraud, including:

             a. The Debtor did not receive reasonably equivalent value in exchange for

                the Transfer;

             b. There was an insider relationship between New Snyder’s and the Debtor

                as set forth in paragraphs 16 through 20 of this Complaint;




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             c. The Debtor was insolvent at the time of the Transfer, or became insolvent

                as a result of the Transfer;

             d. The Debtor’s senior secured creditor, CIT, had threatened to discontinue

                providing credit to the Debtor shortly before the Transfer;

             e. According to the Debtor, the Transfer involved substantially all of the

                Debtor’s purported valuable operating assets, and the Debtor liquidated its

                remaining assets shortly after the Transfer; and

             f. The Transfer was an integral part of a liquidation plan advanced by the

                Debtor’s controlling affiliate and an insider claimant, which such plan

                resulted in the payment of the proceeds of the Transferred Assets to an

                insider in circumvention of the Code’s and MUFTA’s insider fraudulent

                transfer provisions.

       64.      Therefore, the Transfer must be avoided under MINN. STAT. §§ 513.44(a)(1) and

513.47.

       65.      The Trustee has standing to avoid such Transfer under 11 U.S.C. § 544(b)(1), as

at the time of the Transfer there were present and future creditors who presently hold unsecured

claims against the Debtor that are allowable under 11 U.S.C. § 502 or are not allowable only

under 11 U.S.C. § 502(e).

          Count III: Avoidance of the Transfer pursuant to 11 U.S.C. § 548(a)(2)(B)

       66.      Plaintiff re-alleges paragraphs 1 through 65.

       67.      The Debtor made the Transfer to New Snyder’s for less than reasonably

equivalent value in exchange, and:




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             a. the Debtor was insolvent on the date that such Transfer was made, or became

                insolvent as a result of such Transfer;

             b. the Debtor was engaged in a business or transaction, or was about to engage in

                business or a transaction, for which any property remaining with the Debtor was

                an unreasonably small capital;

             c. the Debtor intended to incur debts that would be beyond the Debtor’s ability to

                pay as such debts matured; or

             d. the Debtor made such Transfer to an insider, as is described in Paragraphs 16

                through 20 of this Complaint.

       68.      Therefore, the Transfer must be avoided under 11 U.S.C. § 548(a)(1)(B).

Count IV: Avoidance of the Transfer pursuant to 11 U.S.C. § 544(b)(1) and MINN. STAT. §
                                    513.44(a)(2)(ii)

       69.      Plaintiff realleges paragraphs 1 through 68.

       70.      The Debtor made the Transfer to New Snyder’s for less than reasonably

equivalent value in exchange and:

             a. the Debtor was engaged in a business or transaction, or was about to engage in

                business or a transaction, for which any assets remaining with the Debtor were

                unreasonably small; or

             b. the Debtor intended to incur debts that would be beyond the Debtor’s ability to

                pay as they became due.

       71.      Therefore, the Transfer must be avoided under MINN. STAT. §§ 513.44(a)(2) and

513.47.

       72.      The Trustee has standing to avoid such Transfer under 11 U.S.C. § 544(b)(1), as

at the time of the Transfer there were present and future creditors who presently hold unsecured

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claims against the Debtor that are allowable under 11 U.S.C. § 502 or are not allowable only

under 11 U.S.C. § 502(e).

 Count V: Avoidance of the Transfer pursuant to 11 U.S.C. § 544(b)(1) and MINN. STAT. §
                                       513.45(a)

        73.     Plaintiff realleges paragraphs 1 through 72.

        74.     The Debtor made the Transfer to New Snyder’s for less than reasonably

equivalent value and the Debtor was insolvent at the time of the Transfer or became insolvent as

a result of the Transfer.

        75.     Therefore, the Transfer must be avoided under MINN. STAT. §§ 513.45(a) and

513.47.

        76.     The Trustee has standing to avoid such Transfer pursuant to 11 U.S.C. § 544(b)(1)

as at the time of the Transfer there were present creditors who presently hold unsecured claims

against the Debtor that are allowable under 11 U.S.C. § 502 or are not allowable only under 11

U.S.C. § 502(e).

          Count VI: Avoidance of the Transfer pursuant to 11 U.S.C. § 544(b) and
                                MINN. STAT. § 513.45(b)

        77.     Plaintiff realleges paragraphs 1 through 76.

        78.     The Debtor made the Transfer to New Snyder’s, and ultimately to Katz Funding,

an insider of the Debtor, for payment of an antecedent debt claimed by Katz Funding, at a time

when the Debtor was insolvent, and when Katz Funding had reasonable cause to believe that the

Debtor was insolvent.

        79.     Therefore, the Transfer must be avoided under MINN. STAT. §§ 513.45(b) and

513.47.




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       80.     The Trustee has standing to avoid such Transfer pursuant to 11 U.S.C. § 544(b)(1)

as at the time of the Transfer there were present creditors who presently hold unsecured claims

against the Debtor that are allowable under 11 U.S.C. § 502 or are not allowable only under 11

U.S.C. § 502(e).

       Count VII: Recovery of the Transferred Assets pursuant to 11 U.S.C. § 550(a)

       81.     Plaintiff realleges paragraphs 1 through 80.

       82.     The Transfer should be avoided pursuant to Counts I through VI.

       83.     Katz Funding received the proceeds of the Transferred Assets less than a year

after the Transfer through the Post-Petition Transfers.

       84.     Katz Funding is liable as the initial transferee of such Transferred Assets or the

party for whose benefit such Transfer was made.

       85.     If Katz is not deemed the initial transferee, or the entity for whose benefit such

Transfer was made, Katz Funding is liable as an immediate or mediate transferee of the

Transferred Assets, who did not receive the proceeds of the Transfer for value, in good faith, or

without knowledge of the avoidability of the Transfer.

       86.     In either instance described in the two preceding paragraphs, the Trustee is

entitled to recover from Katz Funding the Transferred Assets or their proceeds, or is entitled to a

money judgment against Katz Funding for the value of the Transferred Assets.

       87.     Alternatively if Katz Funding is not the initial transferee, New Snyder’s is liable

either as initial, immediate or mediate transferee under 11 U.S.C. § 550(a), and the Trustee is

entitled to recover from New Snyder’s the Transferred Assets or their proceeds, or is entitled to a

money judgment against New Snyder’s for the value of the Transferred Assets.




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  Count VIII: Avoidance of the Transfer pursuant to 11 U.S.C. § 549 and Recovery of the
                        Transfer pursuant to 11 U.S.C. § 550(a).

          88.   Plaintiff realleges paragraphs 1 through 87.

          89.   New Snyder’s is a mere conduit of the Debtor.

          90.   The Transfer and the Post-Petition Transfers are part of a single, integrated

transaction which was not complete until the final transaction identified in the Post-Petition

Transfers.

          91.   Sufficient factors exist to substantively consolidate the Debtor and New Snyder’s

for the limited purpose of providing the Trustee with standing to seek avoidance of any transfers

purportedly made by New Snyder’s.

          92.   Based on any one of the allegations listed in the three preceding paragraphs,

Trustee would have standing to avoid the Post-Petition Transfers which were completed or took

place after the commencement of the Debtor’s involuntary bankruptcy on December 3, 2009, and

after the Order for Relief entered on December 29, 2009.

          93.   The Post-Petition Transfers were made after the commencement of this case and

the Order for Relief, and were not authorized by this Court.

          94.   Such Post-Petition Transfers are therefore avoidable pursuant to 11 U.S.C. §

549(d).

          95.   Pursuant to 11 U.S.C. § 550(a)(1), Katz Funding is an initial transferee of such

Transferred Assets, and the Trustee is entitled to recover from Katz Funding the Transferred

Assets or their proceeds, or is entitled to a money judgment against Katz Funding for the value of

the Transferred Assets.

          96.   To the extent that Katz Funding could be deemed an immediate or mediate

transferee of the Transferred Assets, it did not receive the Transfers for value, in good faith, or

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without knowledge of the avoidability of the transfer avoided, and the Trustee is entitled to

recover from Katz Funding the Transferred Assets or their proceeds, or is entitled to a money

judgment against Katz Funding for the value of the Transferred Assets.

   Count IX: Avoidance of Katz Funding’s Secured Claim pursuant to 11 U.S.C. § 544(a)

        97.     Plaintiff realleges paragraphs 1 through 96.

        98.     Katz Funding has filed a secured claim, which it claims attaches to most, if not

all, of the assets of the Estate.

        99.     None of the assets of the Estate are presently subject to any secured claim of Katz

Funding.

        100.    Katz Funding asserts a secured claim pursuant to its position on the CIT credit

facility, the security agreements and the financing statements CIT executed and filed as

administrator of the CIT credit facility.

        101.    The change of the Debtor’s name on April 6, 2009 from Snyder’s Drug Stores,

Inc. to E151 Minnesota, Inc. rendered any prior UCC filings by CIT and / or Katz Funding

against Snyder’s Drug Stores, Inc., to be seriously misleading under MINN. STAT. §§ 336.9-

506(b), (c) and 503(a).

        102.    Pursuant to MINN. STAT. § 336.9-507(c), where a change to the debtor’s name

renders a prior financing statement seriously misleading, the prior financing statement perfects

an interest only in that collateral obtained by the debtor prior to the name change, and such

collateral acquired by the debtor within four months after the name change. The secured party

can only perfect its interest in collateral acquired beyond four months after the name change by

filing an amendment within four months after the name change which identifies the new identity

of the debtor so that the prior financing statement is no longer seriously misleading.



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       103.    A UCC search describing the Debtor by the term “E151 Minnesota” does not

reveal a filed financing statement by Katz Funding, or CIT. Neither CIT, nor Katz Funding,

timely filed an amended financing statement to preserve a secured claim against the Debtor’s

personal property.

       104.    Katz Funding cannot claim any lien against property of the debtor acquired after

August 6, 2009. Trustee believes that most, if not all, property of the estate was acquired by the

Debtor after that date, and that other items of property listed below were not subject to Katz

Funding’s security interest in the first instance.

       105.    The Trustee received a tax refund in 2010 attributable to payroll taxes paid in the

third quarter of 2009. Debtor obtained any such interest in those tax refunds as a general

intangible no earlier than the end of the third quarter of 2009, and in any event after Katz

Funding’s security interest became unperfected on August 6, 2009.

       106.    Trustee recovered rents and proceeds on account of Debtor’s subleases on parcels

of real property leased by Debtor. The Debtor’s and the Estate’s interests in the subleases or any

rents derived thereof are not subject to any security interest claimed by Katz Funding pursuant to

MINN. STAT. § 336.9-102(13), which provides that the UCC does not cover interests in real

property or rents derived thereof. Further, on information and belief, the rents collected by the

Estate were all paid after August 6, 2009, and therefore Katz Funding’s expired lien did not

attach to any such rents.

       107.    On the Petition Date, Debtor had certain cash in deposit accounts, which, on

information and belief, were proceeds of the real estate subleases, or payments to which the

Debtor acquired rights in after August 6, 2009. Further, Katz Funding did not have control of the

deposit accounts, nor entered into a deposit account control agreement signed with the depository



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institution holding the deposit account. Therefore, Katz Funding had no perfected lien against

such deposit accounts.

       108.    Trustee has received proceeds through the sale of the Estate’s rights in a potential

class action claim. The claim is based on various federal statutory claims of unlawful trade

practice and anticompetitive behavior by issuers of credit and debit cards related to the

interchange rates charged on all such transactions. The Estate’s assets traceable to the Debtor’s

cause of action based on such federal statutory violations are proceeds of a commercial tort claim

under MINN. STAT. § 336.9-102(13).

       109.    Trustee has received proceeds from a bond policy payable on account of an

employee’s theft of the Debtor’s property. The surety agreed to pay moneys to the Estate once

the Estate has assigned its tort claim against the employee who converted the Debtor’s property.

The Estate’s assets traceable to this recovery are proceeds of a commercial tort claim under

MINN. STAT. § 336.9-102(13).

       110.    Such commercial tort claims are not described with specificity in the security

agreements under the CIT credit facility under which Katz Funding claims a lien, and therefore

Katz Funding has no security interest in such claims or their proceeds.

       111.    Based on the above, Trustee believes that Katz Funding’s claim is substantially, if

not entirely, unsecured.

       112.    Section 544(a) of the Code, referred to as the “strong arm clause”, gives the

Chapter 7 Trustee the rights and powers of (1) a creditor on a simple contract with a judicial lien

on the debtor's property as of the date of the petition; (2) a creditor with a writ of execution

against the property of the debtor that is unsatisfied as of the date of the petition; and (3) a bona

fide purchaser of the debtor's real property as of the date of the petition.



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        113.       Trustee has standing under 544(a) of the Code to avoid any security interest

claimed by Katz Funding against the assets of the Estate.

        114.       The Court should avoid any secured claim asserted by Katz Funding.

      Count X: Equitable Subordination of Katz Funding Claim under 11 U.S.C. § 510

        115.       Plaintiff realleges and incorporates by reference paragraphs 1 through 114.

        116.       Katz Funding steered the Debtor through liquidation in a fashion that enhanced its

recovery at the expense of the general unsecured creditors.

        117.       Katz Funding sought to perpetrate a fraud upon the general unsecured creditors of

the Debtor.

        118.       Katz Funding engaged in inequitable conduct.

        119.       The claims of other Katz-related entities were generally subordinated to other

outside creditors.

        120.       Katz Funding overleveraged the Debtor by characterizing Katz Funding’s risk

capital as debt.

        121.       The misconduct resulted in substantial injury to the creditors of the Debtor and

conferred an unfair advantage on Katz Funding.

        122.       Equitable subordination of Katz Funding’s claim is not inconsistent with the

provisions of the Code.

        123.       Thus, Katz Funding, as an insider, has engaged in inequitable conduct sufficient

to warrant the equitable subordination of its claim under 11 U.S.C. § 510 to that of the claims of

all other claimants of the Estate.

                       Count XI: Re-Characterization of Katz Funding Claim

        124.       Plaintiff realleges paragraphs 1 through 123.



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          125.    Moreover, the Court should re-characterize the claim of Katz Funding as equity.

          126.    Debtor was not sufficiently capitalized with equity investments.

          127.    In Daryl Katz, there is identity of the Debtor’s controlling party and the

controlling party of Katz Funding, Debtor’s creditor.

          128.    The claims of other Katz-related entities were generally subordinated to other

outside creditors.

          129.    As a result, the Court should re-characterize the Katz Funding claim as equity.

          WHEREFORE, Plaintiff demands judgment against Defendants as follows:

          1.      Avoiding of the Transfer (or Post-Petition Transfers where appropriate) pursuant

to 11 U.S.C. §§ 544, 548, and 549, as well as under those applicable provisions of MUFTA cited

herein;

          2.      In the alternative under 11 U.S.C. § 550(a):

               a. Requiring return of the Transferred Assets or their proceeds by Defendants New

                  Snyder’s or Katz Funding, where possible; or

               b. Awarding Trustee judgment against Defendants New Snyder’s and Katz Funding,

                  jointly and severally, for the value of Transferred Assets.

          3.      Finding that Katz Funding does not hold a secured claim against the Estate assets.

          4.      Equitably subordinating Katz Funding’s claim, or re-characterizing Katz

Funding’s claim as equity.

          5.      Awarding judgment in favor of Trustee and against Defendants, jointly and

severally, for taxable costs and disbursements.

          6.      For such other relief as this Court deems appropriate.




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Dated: December 27, 2011             MACKALL, CROUNSE & MOORE, PLC



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